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                   UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT
                          APPEAL NO. 23-2367

COALITION FOR LIFE ST. LOUIS                 )    Appeal from the United States
dba COALITION LIFE,                          )    District Court for the Southern
                                             )    District of Illinois
       Plaintiff-Appellant,                  )
                                             )
v.                                           )    Dist. Ct. No. 3:23-cv-01651-SPM
                                             )
CITY OF CARBONDALE, ILLINOIS,                )
                                             )    The Hon. Stephen P. McGlynn
       Defendant-Appellee.                   )    U.S. District Judge

  JOINT NOTICE OF AGREEMENT BY THE PARTIES, PURSUANT TO
     FED. R. APP. P. 34(f), TO SUBMIT THIS CASE FOR DECISION
           ON THE BRIEFS, WITHOUT ORAL ARGUMENT

      Now come the parties herein and give notice to this Honorable Court that,

pursuant to Fed. R. App. P. 34(f), they have agreed to submit this Appeal for

decision on the Briefs, without Oral Argument.

                              Respectfully submitted,

/s/Peter Breen                               /s/Joseph A. Bleyer (by permission)
Peter Breen                                  Joseph A. Bleyer
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                          CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2023, I electronically filed the foregoing
with the Clerk of the United States Court of Appeals for the Seventh Circuit by
using the CM/ECF system. I certify that all counsel of record are registered
CM/ECF users and that service will be accomplished by the CM/ECF system.

                                       /s/Peter Breen
                                       Peter Breen




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